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        8
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    10
                                  UNITED STATES DISTRICT COURT
    11
                                 CENTRAL DISTRICT OF CALIFORNIA
    12

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    14      LUBBY HOLDINGS LLC, a Delaware             No. 2:18-cv-00715-RGK-JC
    15      limited liability company; VAPOROUS
            TECHNOLOGIES, INC., a Delaware             DEFENDANT HENRY CHUNG’S
    16      corporation;                               MEMORANDUM OF POINTS AND
    17
                                                       AUTHORITIES IN SUPPORT OF
                                 Plaintiffs,           MOTION TO DISMISS COMPLAINT
    18                                                 PURSUANT TO FRCP 12(b)(6) FOR
                vs.                                    FAILURE TO STATE A CLAIM
    19                                                 UPON WHICH RELIEF MAY BE
    20      HENRY CHUNG, an individual; MING           GRANTED
            CHEN, an individual; DEEPVAPES,
    21                                                 Date:      May 14, 2018
            INC., a California Corporation d/b/a       Time:      9:00 a.m.
    22      BOOM VAPORIZER; DOES 1-10,                 Courtroom: 850
            inclusive,                                            Roybal Federal Building
    23

    24
                                Defendants.
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                      MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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                            MEMORANDUM OF POINTS AND AUTHORITIES
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                                                            I.
        3
                                                INTRODUCTION
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                   Defendant Henry Chung (“Chung”) hereby moves to dismiss the Complaint
        5   filed by Plaintiffs Lubby Holdings LLC and Vaporous Technologies, Inc., (Docket
        6   #1) for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6).
        7          Defendant Chung operates his own vaping business. Defendant Chung
        8   developed his own technology that is incorporated into the products sold by his
        9   business. Plaintiff seeks to damage Chung by filing this unfounded action. As set
    10      forth below, Plaintiffs failed to plead the facts necessary to state a valid claim for
    11      relief in its Complaint against Defendant Chung.
    12                                                      II.
    13                                         THE COMPLAINT
    14             Plaintiffs’ Complaint consists of one claim for Patent Infringement, accusing
    15      Chung of infringing claims of the ‘284 patent, entitled “Personal Vaporizer.”
    16             The Complaint alleges Chung manufactures, uses, sells, offers for sale, and/or
    17      imports products which use or incorporate one or more of claims 1-6, 10, 14, 16-18 of
    18      the ‘284 Patent (Complaint ¶¶18-20).
    19             The Accused Products are described as including but not limited to CONSEAL
    20      A and CONSEAL B e-cigarette. (Complaint ¶18).
    21                                                   III.
    22                  LEGAL STANDARDS RE: 12(b)(6) MOTION TO DISMISS
    23             Under Fed. R. Civ. P. 8(a), a complaint must contain a “short and plain
    24      statement of the claim showing that the [plaintiff] is entitled to relief.” If a complaint
    25      fails to do this, the defendant may move to dismiss it under Rule 12(b)(6).
    26             A motion to dismiss under FRCP 12(b)(6) tests whether the complaint
    27      “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is

    28      plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
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                   MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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            Corp. v. Twombly, 550 U.S. 544, 570 (2007). When deciding a Rule 12(b)(6) motion,
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            the court must accept the facts pleaded in the complaint as true, and construe them in
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            the light most favorable to the plaintiff. Faulkner v. ADT Sec. Servs., Inc., 706 F.3d
        4   1017, 1019 (9th Cir. 2013). The court, however, is not required to accept “legal
        5   conclusions … cast in the form of factual allegations.” W. Mining Council v. Watt, 643
        6   F.2d 618, 624 (9th Cir. 1981).
        7          After accepting all non-conclusory allegations as true and drawing all reasonable
        8   inferences in favor of the plaintiff, the court must determine whether the complaint
        9   alleges a plausible claim to relief. Iqbal at 679-680. “A claim has facial plausibility
    10      when the plaintiff pleads factual content that allows the court to draw the reasonable
    11      inferences that the defendant is liable for the misconduct alleged … The plausibility
    12      standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
    13      possibility that a defendant has acted unlawfully.” Id at 678.
    14             “[I]n the post-Twombly and Iqbal era, pleading on information and belief,
    15      without more, is insufficient to survive a motion to dismiss for failure to state a claim.”
    16      Solis v. City of Fresno, No. 1:11-cv-00053 AWI GSA, 2012 WL 868681 *8 (E.D.Cal.
    17      March 13, 2012). Now, the Plaintiff must on the face of the Complaint “provide the
    18      ‘grounds’ of his ‘entitle[ment] to relief’ … and a formulaic recitation of the elements of
    19      a cause of action will not do.” Twombly at 555.
    20                                                  IV.
    21                        LEGAL STANDARDS RE: PLEADING CLAIM
    22                                FOR PATENT INFRINGEMENT
    23             The most recent amendments to the Federal Rules abrogated Rule 84. FRCP 84
    24      (abrogated). Accordingly, Form 18 no longer provides a safe harbor for pleading direct
    25      infringement.
    26             “[M]erely naming a product and providing a conclusory statement that it
    27      infringes a patent is insufficient to meet the ‘plausibility’ standard set forth in Twombly
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                   MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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            and Iqbal.” Medsquire LLC v. Spring Medical Sys., Inc., No. 2:11-cv-04504-JHN-
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            PLA, 2011 WL 4101093, at *3 (C.D.Cal. Aug. 31, 2011).
        3
                   To satisfy the requirements of Iqbal and Twombly, a plaintiff must “[P]rovide
        4   fair notice to [d]efendant of the specific infringements alleged. Sufficient allegations
        5   would include, at a minimum, a brief description of what the patent at issue does, and
        6   an allegation that certain named and specifically identified products or product
        7   components also do what the patent does, thereby raising a plausible claim that the
        8   named products are infringing.” Bender v. LG Elecs. U.S.A., Inc., No. C09-02114 JF
        9   (PVT), 2010 WL 889541 at *6 (N.D.Cal. March 10, 2010) (emphasis added).
    10             To state a claim for patent infringement, Plaintiff must state allegations
    11      sufficient to permit the court to infer the accused product infringes each element of
    12      at least one claim. Tannerite Sports, LLC v. Jerent Enterprises, LLC, Case No. 15-
    13      cv-00180-AA, 2016 WL 1737740, at *3 (D. Or. May 2, 2016).
    14             The complaint must identify the accused product and plead facts to show the
    15      accused product meets each and every limitation of at least one claim of the patent.
    16      McAfee Enters., Inc. v. Yamaha Corp. of Am., No.2:16-2562-BRO (FFMx), 2016
    17      WL 6920675 at *2-3 (C.D. Cal. June 24, 2016); Agarwal v. Buchanan, Case No.
    18      17-cv-2182-BRO (MRWx), 2017 WL 5125752 at *4 (C.D.Cal. June 22, 2017).
    19             In other words, Plaintiffs must plead sufficient facts to show that the accused
    20      products “practice all elements of a patent claim.” TeleSign Corp. v. Twilio, Inc.,
    21      Case No. 16-cv-2106-PSG, 2016 WL 4703873, at *3 (C.D. Cal. Aug. 3, 2016).
    22                                                     V.
    23                       THE COMPLAINT FAILS TO STATE A CLAIM
    24                                 OF PATENT INFRINGEMENT

    25             Plaintiffs’ Complaint fails to meet the pleadings standard set forth in Twombly

    26      and Iqbal, and thus should be dismissed for failure to state a plausible claim for relief.

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                   MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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                   Plaintiffs make only conclusory statements about Plaintiffs’ alleged practice of
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            the claimed methods. The only “factual” allegations Plaintiffs makes are on
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            information and belief (Complaint ¶¶18-19).
        4          It is insufficient for Plaintiffs to simply recite claim elements and say the
        5   elements are met by the accused products. Plaintiffs must provide a plain explanation
        6   for why or how the claim allegedly reads on the accused products. In McAfee and
        7   Agarwal, the Court found sufficient pleading where the patentee alleged specific
        8   features of the accused products that are alleged to infringe the claims of the respective
        9   patents at issue (in McAfee, the accused product’s “Fast Blast” feature; in Agarwal:
    10      magnets worn by the user of the accused product).
    11             In contrast, other than identifying certain asserted claims 1-6, 10, 14, 16-18
    12      (Complaint ¶20), Plaintiffs failed to state in any detail how the accused products,
    13      CONSEAL A and CONSEAL B E-cigarette allegedly infringed the ‘284 Patent.
    14      Nor does the Complaint describe how any of Chung’s products relate to the ‘284
    15      Patent claims in general.
    16             If Plaintiffs brought this action in good faith, they should be able to describe
    17      how they believe Chung’s product infringe the ‘284 Patent. Other than the foregoing
    18      conclusory allegation that was adapted from the language of 35 U.S.C. §271, the
    19      Complaint contains no specific factual allegations of the infringement by Defendant’s
    20      accused products.
    21             Plaintiff’s single conclusory allegation is precisely the type of legal assertion
    22      the Court need not accept as true. Apollo Fin., LLC v. Cisco Sys., Inc., 190 F.
    23      Supp.3d 939, 942 (C.D.Cal. 2016).
    24             In summary, Chung has no basis upon which to determine the plausibility of
    25      Plaintiffs’ claims and respond to the Complaint’s allegations of patent infringement.
    26                                                  VI.
    27                                           CONCLUSION
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                   MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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                   For these reasons stated above, Plaintiffs’ Complaint fails to meet the notice
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            pleading requirements of Fed.R.Civ. Proc. 8, Iqbal and Twombly. Chung respectfully
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            requests the Court dismiss the Complaint in its entirety for failure to state a claim upon
        4   which relief may be granted.
        5

        6                                                     Respectfully Submitted,
        7                                                     LT PACIFIC LAW GROUP LLP

        8   Dated: March 30, 2018
        9
                                                              /s/Jen-Feng Lee
                                                       By:
    10                                                        Jen-Feng Lee
    11
                                                              Kenneth Tanji, Jr.
                                                              Attorneys for Defendant, Henry Chung
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                   MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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                                           PROOF OF SERVICE
        2

        3         The undersigned certifies that the foregoing document, DEFENDANT
        4   HENRY CHUNG’S MEMORANDUM OF POINTS AND AUTHORITIES
        5   ISO the MOTION TO DISMISS COMPLAINT PURSUANT TO FED. R.
        6   CIV. P. 12(b)(6), was filed electronically in compliance with Local Rule 5 – 3.3
        7   and Federal Rules of Civil Procedure. As such, this document was served on all
        8   counsel deemed to have consented to electronic service. Local Rule 5 – 4.1.3.All
        9   other counsel of record or per se parties not deemed to have consented to electronic
    10      service were served with a true and correct copy of the foregoing by U.S. Mail, as
    11      identified below:
    12
                  NONE.
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    14
            On this 30th day of March, 2018.
    15

    16                                               /s/Jen-Feng Lee__________
                                                     Jen-Feng Lee
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                   MEMORANDUM RE: DEFENDANT HENRY CHUNG’S MOTION TO DISMISS

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